
554 S.E.2d 344 (2001)
354 N.C. 221
STATE of North Carolina
v.
Vearl ACKERMAN.
No. 447P01.
Supreme Court of North Carolina.
October 4, 2001.
Vearl Ackerman, Pro Se.
Mark J. Pletzke, Assistant Attorney General, Peter S. Gilchrist, III, District Attorney, for State of North Carolina.
Prior report: 144 N.C.App. 452, 551 S.E.2d 139.
ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th day of October 2001."
